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FORM nhstats (Rev. 10/20)
                                   UNITED STATES BANKRUPTCY COURT
                                          Northern District of Florida
                                            Tallahassee Division

In Re: Anneli Mariah Nystrand                              Bankruptcy Case No.: 21−40006−KKS

       Anneli Mariah Nystrand                              Adversary Case No.: 21−04003−KKS
       Plaintiff(s)
vs
       Kingdom of Sweden
       Defendant(s)


                                     Notice of Rescheduled Status Conference
                                                  via Telephone

   PLEASE TAKE NOTICE that a Status Conference will be held on June 7, 2022, at 10:00 AM, Eastern Time, via
CourtCall.

        3 − Amended Complaint by Anneli Mariah Nystrand against Anneli Mariah Nystrand (Re: 1
        Complaint). (Attachments: # 1 Amended Adversary Cover Sheet # 2 Exhibit A)(Received by email)
        (Bolton, E.)

     PLEASE GOVERN YOURSELVES ACCORDINGLY.

Dated: March 25, 2022                                      FOR THE COURT
                                                           Traci E. Abrams, Clerk of Court
                                                           110 E. Park Ave., Ste. 100
                                                           Tallahassee, FL 32301




SERVICE: Service by the Court pursuant to applicable Rules.

TELEPHONIC APPEARANCES: It is the responsibility of each person who wishes to appear by CourtCall to do
so by calling (866) 582−6878 not later than 3:00 p.m. one day prior to the hearing to schedule their appearance. In an
emergency, you may contact chambers at (850) 521−5031. Failure to timely arrange a CourtCall appearance is NOT
an emergency. For further instructions see our website at
http://www.flnb.uscourts.gov./sites/default/files/court_resources/telephonic_appearance_procedures.pdf.
